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UNITED STATES DISTRICT COURT 207 SEP
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DANIEL E. CARPENTER, ) Weeia lp gr bil af
Petitioner ) “
Vv. ) Crim. No, 04-10029-GAO
)
UNITED STATES OF AMERICA, )
Respondent )

 

PETITION FOR AN EXPEDITED WRIT OF CORAM NOBIS FOR EXPUNGEMENT
AND TO SET ASIDE PETITIONER’S CONVICTION

TO THE HONORABLE JUDGE GEORGE A. O’TOOLE, MAY IT PLEASE THE COURT:

NOW COMES THE PETITIONER, Daniel E. Carpenter, to ask this Court for an expedited
tuling and to issue a Writ of Coram Nobis to vacate Petitioner’s conviction, and to thereby correct
several errors of the “most fundamental character,” and to prevent further manifest injustices to
the Petitioner from occurring. After completing his sentence of incarceration, Petitioner stands
convicted of acts that were never criminal under the Federal Fraud Statutes as described by the
Supreme Court in Skilling, 561 U.S. 358 (2010), McDonnell v. United States, 136 S.Ct. 2355
(2016), Marinello v. United States, 138 S.Ct. 1101 (2018), and most recently in Kelly v. United
States, 140 S.Ct. 1565 (2020). Therefore, this Court never had jurisdiction and any judgment issued
by this Court was void as a matter of law. See United States v. Rosa-Ortiz, 348 F.3d 33 (1st Cir.
2003), citing United States v. Peter, 310 F.3d 709 (11th Cir. 2002) and United States v. Morgan,
346 U.S. 502 (1954).

Additionally, Petitioner seeks expungement of his conviction pursuant to 18 U.S.C. §3231,
and the return of the $60,000 that has been paid to the Government for restitution, forfeitures, and
fines for a non-crime that he did not commit as a matter of law. This Court has subject matter

jurisdiction over this proceeding under the All Writs Act, 28 U.S.C. §1651 and 18 U.S.C. §3231.
The error of Petitioner being convicted and punished for an act that the law does not make
criminal is of the most “fundamental” nature. As the Supreme Court stated empathetically in
Bousley v. United States, “a conviction and punishment...for an act that the law does not make
criminal...results in a complete miscarriage of justice.” 523 U.S. 614, 620-21 (1998).

MEMORANDUM AND POINTS OF LAW IN SUPPORT OF PETITION FOR
AN EXPEDITED WRIT OF CORAM NOBIS FOR EXPUNGEMENT
AND TO SET ASIDE PETITIONER’S CONVICTION
I. It has been 10 years since this Court granted Petitioner’s Second New Trial Order.

Petitioner’s last trial was in 2008, and the jury verdict in that case was thrown out by this

Court’s decision in September of 2011.

2. Both of Petitioner’s most recent appeals were terminated by the First Circuit without notice
to Petitioner.
3. Petitioner filed an application for a Writ of Audita Querela in February 2021, see Dkt. No.

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4, This Court denied Petitioner’s Audita Querela on September 17, 2021, see Dkt. No. 604.
5. Clearly, the Government constructively amended the Indictment in this case ftom one of
lying to clients, to one of “nondisclosure” and omissions, which was banned by the

Supreme Court unanimously in Skilling v. United States, 561 U.S. 358 (2010), where the

Court stated that so-called omissions and nondisclosures were “outside the bounds" of the

fraud statutes, id. at 410, and for there to be fraud, “the victim’s loss of money or property

suppl[ied] the defendant’s gain.” /d at 400. During Petitioner’s second trial, the

Government continually repeated questions concerning what Petitioner did not tell the

Exchangors.
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As the Court knows, Petitioner’s attorneys at Greenberg Traurig abandoned him in 2010
in favor of defending a much more lucrative client — Merrill Lynch — which had since been
taken over by Bank of America. This is per se Ineffective Assistance of Counsel.
Furthermore, the Government announced on September 29, 2011 that it would be appealing
the Second New Trial Order in violation of the Double Jeopardy Clause in 28 U.S.C.
§3731.

The First Circuit overturned the Second New Trial Order on November 28, 2013.

The only expeditious action taken in Petitioner’s 20 year-long saga is that the First Circuit
apologized for the three year delay between June 2008 and September 2011, and then
ordered expeditious sentencing in February 2014. At no time was there any mention of the
dramatic change in the law occasioned by the Supreme Court’s decision in Skilling.

As Judge Kayatta summed up Petitioner’s alleged crime for the First Circuit:

“In a nutshell, [Carpenter] told clients he would hold their money in escrow accounts for
which the client would pay a fixed fee and which would cautiously generate returns of
either three or six percent; then (unbeknownst to his clients) he invested the money in high-
tisk, high-return stock options, hoping to generate excess returns to keep for himself. His
option trading fared poorly, and he lost nine million dollars in client funds. At trial, he
argued unsuccessfully that he never promised that the client funds would be safe, and that
he did not intend to defraud his clients when he failed to disclose his real strategy of using
their money to make risky investments to see if he could hit a home run for himself.”
United States v. Carpenter, 781 F.3d 599, 603 (1st Cir. 2015).

Despite all of the obvious errors in Judge Kayatta’s “nutshell” description (e.g. Mr.
Carpenter did not fe// anyone anything in this case and there were extensive contractual
agreements so all of the Exchangors were bound by a contract with a merger and integration
clause), the immediate problem with Judge Kayatta’s description of the scheme to defraud

in Mr. Carpenter’s case is that it fails to describe a crime anywhere in the United States

after the Supreme Court’s unanimous decision in Skilling v. United States, 561 U.S. 358
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(2010). For example, Skilling points to the fact that the nondisclosure of terms of the
contract is outside the bounds of fraud. Skilling at 410. Additionally, Skilling describes the
classic “mirror image of fraud” doctrine, where “the victim’s loss of money or property
supplied the defendant’s gain, with one the mirror image of the other.” Skilling at 400.
Significantly, since Judge Kayatta’s description of Petitioner’s case, there have been a
number of major decisions that this Court has summarily ignored, including the Second
Circuit in United States v. Countrywide, 822 F.3d 650 (2d Cir. 2016) based largely on two
First Circuit decisions: McEvoy Travel v. Heritage Travel, 904 F.2d 786 (Ist Cir. 1990) for
the proposition that “the common law requires proof other than the fact of breach that, at
the time a contractual promise was made, the promisor had no intent ever to perform the
obligation,” Countrywide at 658, and Sanchez v. Triple-S, 492 F.3d 1, 11 (1st Cir. 2007):
A defendant's failure to disclose information, without more, cannot make out a violation of
the mail and wire fraud statutes. See Am. United Life Ins. Co. v. Martinez, 480 F.3d 1043,
1065 (11th Cir. 2007); United States v. Gray, 405 F.3d 227, 235-36 (4th Cir. 2005); United
States v. Autuori, 212 F.3d 105, 118 (2d Cir. 2000)....We nevertheless observed that “Tilt
would be a truly revolutionary change to make a criminal out of every salesman
(assuming the use of the mails or telephone) who did not take the initiative to reveal
negative information about the product and who - a jury might find - secretly
harbored in his heart the hope that the buyer would never ask.”

After Petitioner filed numerous motions, Judge Roach wrote an opinion in 2016 on the civil
case that made it clear that not only did the Merrill Broker Gerry Levine lie, but all of the
broker-witnesses and other Merrill Lynch executives in this case lied as well. Until Judge
Roach’s opinion, Mr. Carpenter had no idea that he and BPETCO had passed two SEC
investigations or that Merrill Lynch executives lied in those investigations and at his trial.
In United States v. Irizarry-Colon, 848 F.3d 61 (1st Cir. 2017), the defendant pleaded guilty

to defrauding the government from 1998-2000, but was not indicted for the first time until

2005 and his case was finally dismissed for Due Process delay and Speedy Trial violations
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in 2018. Petitioner’s case is even worse than /rizzary-Colon, because at no time did
Petitioner plead guilty and yet his Speedy Trial analysis seems to be the basis for all of the
recent First Circuit decisions involving Speedy Trial.

Petitioner’s case goes back to January 2001 and is still ongoing, so clearly there was an
egregious Due Process delay violation based on the Barker v. Wingo factors that Justice
Sotomayor stated should be used in determining post-trial or sentencing delay. See her
Concurrence in Betterman v. Montana, 136 S.Ct. 1609 (2016): “the standard for Due
Process delay in sentencing should be the familiar Barker factors: (1) the “[IJength of the
delay”; (2) “the reason for the delay”; (3) “the defendant’s assertion of his right”; and (4)
“prejudice to the defendant.”

In addition, Irizarry-Colon was granted a dismissal based on the extraordinary Due Process
delay violations in 2018, which was far less severe than the Due Process delays in this case.
Similarly, while the defendant in United States v. Handa, 266 F.Supp.3d 443 (D.Mass.
2017) was hiding in India for six years, Petitioner was at all times in Connecticut awaiting
decisions by this Court and his third trial.

Petitioner asks this Court to reconsider the Barker factors in this case in light of the
decisions in Jrizarry-Colon and Handa. This Court knows better than anyone that Petitioner
has been talking about Speedy Trial Delays since 2005 starting with Dkt. #79. Furthermore,
Petitioner wishes to point out that now that Jrizarry-Colon is the law of the First Circuit
and has resulted in dismissals of indictments in Handa and United States v. Reina—Del
Rosario, 281 F.Supp.3d 253 (D. P.R. 2017), the First Circuit has now adopted the principle
of presumptive prejudice after a period of one year so that the defendant does not need to

prove the palpable prejudice that occurred and still clearly exists in this case, Therefore, if
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the same principles had been applied to this case as was done in Jrizarry-Colon or Handa,
the outcome would have been entirely different on a Due Process and Speedy Trial basis.
Furthermore, the First Circuit’s ruling in United States v. Huete-Sandoval, 668 F.3d 1 (1st
Cir. 2011), decided in December of 2011, came after this Court’s ruling in September of
2011, and after the Government’s appeal of Petitioner’s Second New Trial Order. The
Huete-Sandoval decision is based on the Supreme Court's decision in Bloate v. United
States, 130 S.Ct. 1345, (2010). Therefore, Petitioner was never able to argue either Bloate
or Huete-Sandoval. This Court never viewed the Speedy Trial Rules under the new
standard of Bloate. Petitioner has a much better case than Huete-Sandoval did for
dismissing the indictment for a simple Speedy Trial violation of 9-16 days.

THIS COURT CLEARLY LACKED JURISDICTION BASED ON KELLY

This Court clearly lacked jurisdiction because there was no federal crime in this case. In
Kelly v. United States, 140 S.Ct. 1565 (2020), the Supreme Court cites the Seventh Circuit
in United States v. Walters, 997 F.2d 1219 (7th Cir. 1993) for the idea that under the
Government’s theory of fraud, even a practical joke could be mail and wire fraud. Over the
last 17 years that Petitioner’s case has been before this Court, Petitioner has mentioned
Walters no less than a dozen times:

“A [e-mails] B an invitation to a surprise party for their mutual friend C. B drives his car
to the place named in the invitation,” thus expending the cost of gasoline. /d. “But there is
no party; the address is a vacant lot; B is the butt of a joke.” Jd. Wire fraud? No. And for

the reason Judge Easterbrook gave: “[T]he victim’s loss must be an objective of the
[deceitful] scheme rather than a byproduct of it. Jd. at 1226.” Kelly at 1567, n.7.

. As this Court has stated in many opinions, Petitioner always intended to return the money.

And, the truth of matter is that the Exchangors have received over $50 million from his

victories over PaineWebber and Merrill Lynch.
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The Exchangors actually released and in some instances forgave Petitioner in 2015.

It is outrageous that the unconstitutional forfeitures in this case have not been released
based on Timbs v. Indiana, 139 S. Ct. 682 (2019), where a small-time drug dealer received
a light sentence and $1,500 in fines and various fees, but lost his $42,000 Land Rover.
Justice Ginsburg wrote the opinion on behalf of the unanimous Supreme Court and traced
the Excessive Fines Clause all the way back to the Magna Carta. It would appear that all
of the Justices would support Petitioner that there is something “constitutionally
inconsistent” with a forfeitures amount of $14 million.

The Forfeiture Clauses of the Indictment were taken out by the Government in 2005 and
never put back into the Indictment, so it is Plain Error on the part of this Court not to vacate
the Forfeiture Order.

Petitioner has clearly satisfied the standards of Plain Error under the First Circuit as stated
in United States v. Lara, 970 F.3d 68, 84 (1st Cir. 2020), citing United States v. Rosa-Ortiz,
348 F.3d 33, 36 (1st Cir. 2003):

“{a] federal court lacks jurisdiction to enter a judgment of conviction when the indictment
charges no offense under federal law. These challenges raise a number of questions about
the application of the plain error standard of review, which provides that a clear or obvious
error should be corrected if it “seriously affects the fairness, integrity or public reputation
of judicial proceedings.” Rosales-Mireles vy. United States, 138 S.Ct. 1897, 1905 (2018)
(quoting Molina-Martinez v. United States, 136 S.Ct. 1338, 1343 (2016)).

Petitioner satisfies the jurisdictional requirement of United States v. Guzman-Merced, 2020
WL 7585176 (1st Cir. 2020), and should benefit from the Supreme Court’s decision in
Rehaif v. United States, 139 S.Ct. 2191 (2019), Skilling, McDonnell v. United States, 136

S.Ct. 2355 (2016), Marinello v. United States, 138 S.Ct. 1101 (2018), and Kelly.
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PETITIONER IS ACTUALLY AND FACTUALLY INNOCENT
In Elonis v. United States, 135 S.Ct. 2001 (2015), Chief Justice Roberts confirmed that the
comerstone of American Jurisprudence is that a person should not be deemed criminally
responsible for mere negligence. Chief Justice Roberts further stated that the government
must allege and prove that the person had the necessary criminal intent or criminal mens
rea before conduct could be considered criminal, and that this principle of criminal justice
in America is "as universal and persistent in mature systems of law as belief in freedom of
the human will and a consequent ability and duty of the normal individual to choose
between good and evil.”
In fact, the Supreme Court “rejected that interpretation of the statute, because it would have
criminalized a broad range of apparently innocent conduct and swept in individuals who
had no knowledge of the facts that made their conduct blameworthy.” Elonis at 2010.
The election turmoil and the NASDAQ stock market crash of 2000 caused the losses at
issue, and Petitioner is still very sorry for those losses. In fact, as the Court knows, had
PaineWebber not swept the funds from the account, Petitioner would have been up $15
million instead of down $9 million in January 2001.
Petitioner has always diligently proclaimed his innocence, while the Government used one
spurious theory after another to try and convict Petitioner. After Petitioner’s second trial in
2008, he was found guilty, but filed a Petition for a New Trial and a Rule 29 Judgment of
Acquittal. Looking back at this Court’s decision, it was Plain Error for this Court not to
recognize the effect of Skilling and conclude that it lacked jurisdiction.
Therefore, Petitioner respectfully asks for an expedited ruling in this case and not the seven

months that Petitioner had to wait on his Writ of Audita Querela.
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“The Rule of Lenity reflects not merely a convenient maxim of statutory construction.
Rather, it is rooted in fundamental principles of due process which mandate that no
individual be forced to speculate, at peril of indictment, whether his conduct is prohibited.”
Dunn v. United States, 442 U.S. 100, 112 (1979).

Where, as here, "a jury has been presented with several bases for conviction, one of which
is legally erroneous, and it is impossible to tell which ground the jury convicted upon, the
conviction cannot stand." United States v. Sawyer, 85 F.3d 713, 730-31 (1st Cir. 1996).
See, e.g., Yates v. United States, 354 U.S. 298 (1957): “In...circumstances [where a legally
invalid theory has been submitted to the jury] we think the proper rule to be applied is that
which requires a verdict to be set aside where the verdict is supportable on one ground, but
not on another, and it is impossible to tell which ground the jury selected. United States v.
Fernandez, 722 F.3d 1, 33 (1st Cir. 2013).” Jd. at 312.

Petitioner also satisfies the elements to establish the need for Coram Nobis relief, namely
that a petitioner must 1) explain his failure to seek relief from judgment earlier; 2)
demonstrate continuing collateral consequences from the conviction; and 3) prove that the
error is fundamental to the validity of the judgment. See United States v. Sawyer (Sawyer
ZN), 239 F.3d 31, 38 (Ist Cir. 2001); United States v. Barrett, 178 F.3d 34, 56, n. 20 (Ist
Cir. 1999); and United States v. Hager, 993 F.2d 4, 5 (1st Cir. 1993). In Sawyer II, the First
Circuit assumed, without deciding, that coram nobis was available to vacate a criminal
conviction premised upon a fundamental error of law. Sawyer IT at 38. In United States v.
Brown, 79 F.3d 1550, 1562 (11th Cir. 1996), the Eleventh Circuit cited Sir Thomas More’s
famous speech from Robert Bolt, “A Man For All Seasons” Act II, 89 that “[tJhe law is a

causeway upon which, so long as he keeps to it, a citizen may walk safely”, and observed
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that “the idea that practical jokes are federal felonies would make a joke of the Supreme
Court's assurance that §1341 does not cover the waterfront of deceit.” /d.
Petitioner is entitled to the benefit of that construction inasmuch as it involves the meaning
of a criminal statute enacted by Congress. See, e.g., Bousley v. United States, 523 U.S. 614,
620 (1998): “[D]ecisions of [the Supreme Court] holding that a substantive federal criminal
statute does not reach certain conduct, like decisions placing conduct beyond the power of
the criminal lawmaking authority to proscribe, carry a significant risk that a defendant
stands convicted of an act that the law does not make criminal.”

OTHER CONSTITUTIONAL ERRORS
Petitioner respectfully requests the Court to invoke this Court’s supervisory powers to
prevent any further miscarriage of justice in Petitioner’s case. If Venue was improper for
Vicki Cabrales who lived in Missouri and sold drugs in Missouri, then certainly Venue in
Massachusetts is improper for Petitioner because he never had any business or interactions
with anyone in Massachusetts before in his life. See United States v. Cabrales, 524 U.S. 1
(1998). Bloate only had one violation of the Speedy Trial Act (STA), whereas Petitioner
pointed out over a dozen separate STA violations in his motions. See United States vy.
Bloate, 559 U.S. 196 (2010). The Speedy Trial Act (STA) violation in United States v.
Dezeler, 81 F.3d 86 (8th Cir. 1996) was only one day, where Petitioner was effectively “on
trial” for over 14 years before his sentencing, including a six-year delay from the trial of
2008 to the sentencing in 2014.
The First Circuit overturned Petitioner’s New Trial Order, see Carpenter, 736 F.3d 619,
saying that because of the “vigorous” cross-examination of the one perjurious Merrill

broker, Levine, and the failure of Petitioner’s attorneys to timely object, it was merely

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harmless error. But, a “vigorous” cross-examination does not purge the taint of perjury
from criminal proceedings, nor does it relieve the prosecution from its duty under Napue
v, Illinois, 360 U.S. 264 (1959). See United States v. Agurs, 427 U.S. 97 (1976), and Giglio.
A defendant need only show that “the false testimony could in any reasonable likelihood
have affected the judgment of the jury,” ie., whether the trial produced a verdict “worthy
of confidence.” Kyles v, Whitley, 514 U.S. 419, 434 (1995). As the Supreme Court stated
in Napue: “The duty of this Court to make its own independent examination of the record
when federal constitutional deprivations are alleged is clear, resting, as it does, on our
solemn responsibility for maintaining the Constitution inviolate.” /d. at 272.

In the famous 2255 Habeas case, Ouimette v. Moran, 942 F.2d 1 (1st Cir. 1991), the First
Circuit ends its decision affirming the granting of instant freedom to a convicted bank
robber, who unlike Petitioner later pled guilty, with these stirring words:

“Although unbridled prerogative powers of government were abolished in England by the
Magna Charta in 1215 A.D. and in America by the Constitution's Bill of Rights, here, they
were alive and well in [Boston]. [The government's] prosecutorial team enjoyed exclusive
and peculiar privilege to fashion and shape [Levine] as a credible witness against the
accused. The prosecutions’ coverup and censorship at trial of their preemptive activity is
what remains as constitutionally actionable.” Jd. at 13.

Obviously, in Ouimette's case, it was the state of Rhode Island and the only witness against
him was his partner in crime with a long criminal history behind him that the state tried to
cover up. In Petitioner’s case, not only did Levine lie, all the broker witnesses lied, as did
all of the Exchangor witnesses. By June of 2008, the Exchangors had been paid back $15
million on their $8 million loss, and the incapacitated Iantosca had sued Merrill Lynch in
February 2008, unbeknownst to Petitioner, alleging that Merrill had been informed by

BPETCO's officers that the funds were all Third Party funds being held in "escrow" for the

benefit of others. Please see Paragraphs 12-16, 18-19, and Paragraph 29, of the Jantosca

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lawsuit showing that Merrill’s attorneys and the Exchangors’ attorneys, and therefore the
government’s attorneys all knew that “the testimony provided at trial by the broker-
witnesses was perjurious.” Yet, the jury heard none of these important revelations. Instead
the government egregiously violated Petitioner’s constitutional rights under every famous
case there is from Berger to Napue to Brady to Giglio to Bagley. The government had to
know about the /antosca lawsuit, but played word games with the Court to disguise its
actual knowledge in violation of their obligations under Brady, Giglio, and Bagley. In fact,
the First Circuit in Ouimette cites to a number of famous Supreme Court decisions
including Bagley and Agurs, for several different and critical constitutional issues:

“...constitutional error can result from government ‘failure to assist the defense by
disclosing information that might have been helpful in conducting the cross-examination

if such suppression of evidence, in fact, deprives the defendant of a fair trial. Agurs at 103.”

“...the prosecutor's duty to disclose voluntarily ‘anything exculpatory,’ whether the
defendant has made ‘merely a general request’ or ‘no request at all.’ Agurs at 106-07.”

"...1f the omitted evidence creates a reasonable doubt that did not otherwise exist,
constitutional error has been committed. Agurs at 112.”

“*...the suppression of such impeachment evidence ‘might have affected the outcome of the
trial.’ Agurs at 104.” Ouimette at *10-11.

The First Circuit goes on to quote Napue v. Illinois, 360 U.S. 264 (1959), that even if
the introduction of perjury is accidental or inadvertent, the conviction must be
overturned: “...a conviction obtained by the knowing use of perjured testimony is
fundamentally unfair, and must be set aside if there is any reasonable likelihood that the

false testimony could have affected the judgment of the jury. Agurs at 103.” Jd. at 11.

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In Ouimette, the State of Rhode Island tried to argue as the government does in Petitioner’s
case that the introduction of perjury was "harmless error", but the First Circuit cites Bagley,
Napue, and Fahy v. Connecticut, 375 U.S. 85 (1963), that the prosecution must prove
beyond a reasonable doubt that the error did not contribute to the verdict obtained. See
also Chapman v. California, 387 U.S. 18 (1967), which created the "harmless error beyond
a reasonable doubt standard." The First Circuit cites Napue and Chapman to say that the
government must prove beyond a reasonable doubt that the error did not contribute in any
way to the verdict, which is impossible in Petitioner’s case because this Court has already
stated in both of the New Trial Orders that there was clear perjury presented by the
government in both of the trials and the egregious prosecutorial misconduct probably
influenced the jury’s verdict. Moreover, the newly discovered evidence from the Merrill
civil cases shows that not only did the broker witnesses all lie, so too did all of the
Exchangor witnesses, as well as Paley. No matter how “vigorous” the cross-examination
of a perjured witness is, it does not eliminate the government's obligations under Napue
and Giglio, nor does it purge the taint of perjury from the integrity of the proceedings, and
it certainly does not constitute “harmless error.”

Moreover, the Constitutional errors in Petitioner’s case that he details above “constitute a
fundamental defect which inherently results in a complete miscarriage of justice.” Reed vy.
Farley, 512 U.S. 339 (1994). Petitioner has established that had the new evidence, such as
the fantosca v. Merrill Lynch lawsuit and proof that all of the broker witnesses had lied
because of Attorney Bingham's orchestrated fraud on the Court, been presented to the jury,

it would have led to the declaration of innocence that Petitioner so justly deserved.

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“There can be no room for doubt that such circumstances inherently result in a complete
miscarriage of justice that justifies relief under §2255." Davis v. United States, 417 U.S.
333 (1974), citing the history of §2255 relief described in United States v. Hagman, 342
U.S. 205, 218 (1952). Collateral review is available where "the alleged error constituted a
fundamental defect which inherently results in a complete miscarriage of justice.” Reed v.
Farley, 512 U.S. 339 (1994); Murray v. Carrier, 477 U.S. 478, 495-96 (1986). The
Supreme Court's decision in McQuiggen v. Perkins, 133 S. Ct 1924 (2013) refers to the
supervisory powers of this Court and that the "fundamental miscarriage of justice”
exception is grounded in the equitable discretion of habeas courts to see that federal
constitutional errors do not result in the incarceration of innocent persons. See also Herrera
v. Collins, 506 U.S. 390, 404 (1993). A conviction should be set aside "where a miscarriage
of justice would otherwise result." United States v. Garcia-Pastrana, 584 F.3d 351, 390
(Ist Cir. 2009), quoting United States v. Del-Valle, 566 F.3d 31, 38 (1st Cir. 2009).

Finally, Petitioner was lied to, betrayed, and then essentially abandoned by his
unscrupulous attorneys who chose to represent Merrill Lynch rather than him starting in
2010, thereby creating an actual conflict of interest, which renders Petitioner’s
representation as constitutionally ineffective per se. Despite the fact that Petitioner clearly
satisfies both prongs of Strickland v. Washington, 466 U.S. 668 (1984), he no longer needs
to satisfy the "prejudice" prong because of Cuyler v. Sullivan, 446 U.S. 335 (1980),
Holloway v. Arkansas, 435 U.S. 475 (1978), and Glasser v. United States, 315 U.S. 60
(1942), where prejudice is presumed as a matter of law because Petitioner’s attorneys
abandoned him for a conflict of interest in favor of making millions of dollars working for

Merrill and its brokers.

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While it is no surprise that the government denies it did anything wrong in Petitioner’s
case, even though both trials resulted in New Trial Orders due to the government’s
egregious prosecutorial misconduct, it is indeed shocking for the government not to
concede that Petitioner was also a victim of obvious and classic ineffective assistance of
counsel under Strickland and Cuyler. See, also, the famous Supreme Court decision in
Maples v. Thomas, 565 U.S. 132 (2012), where Corey Maples was abandoned by his big
New York law firm just as Petitioner was abandoned by his attorneys at Greenberg Traurig.
And, Petitioner was clearly abandoned and betrayed by his constitutionally ineffective
counsel that had an actual conflict of interest that caused Petitioner the prejudice of being
sentenced to three years in prison, see, e.g., Glover v. United States, 531 U.S. 198, 203
(2001), that any amount of actual jail time “constitutes prejudice under the Strickland
doctrine and the Sixth Amendment.” Petitioner respectfully requests that this Court do the
right thing and vacate his conviction, as Petitioner has clearly shown that he received
substandard performance from his attorneys as a matter of law, and prejudice is already
presumed as a matter of law, so Petitioner clearly satisfies both prongs of Strickland.

The First Circuit has clearly stated in several cases that even a “single serious error can
support a claim of Ineffective Assistance of Counsel. See, e.g, Prou v. United States, 199
F.3d 37 (ist Cir. 1999), citing Murray v. Carrier, 477 U.S. 478, 496 ( 1986) and
Kimmelman v. Morrison, 477 U.S. 365, 383 (1986). In Prou, the single error was his
counsel’s failure to raise an argument of the government’s untimely filing of required
information that affected Prou’s sentencing guideline range. Obviously, that error pales in

comparison to all the mistakes made by Greenberg Traurig as noted by both this Court and

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the First Circuit, which was enough for Prou to show his counsel’s substandard
performance.

In fact, the First Circuit recently reversed the convictions in Bravo-Fernandez, 913 F.3d
244, (Ist Cir. 2019), because the Government failed to mention just one of the elements of
the crime, and Bravo-Fernandez has not been going on as long as the Petitioner’s case. In
Petitioner’s case, not only did the Indictment fail to state a crime after Skilling and after
Kelly, but at both trials the Government failed to prove any of the three elements for a mail
and wire fraud conviction and certainly never discussed criminal mens rea or Scienter as
is required by the Supreme Court in any criminal case. Furthermore, Petitioner has
submitted Charles Doyle’s numerous articles on Mail and Wire Fraud for the
Congressional Research Service and based on Doyle’s analysis the Government failed to
mention all five elements required for a conviction under the Mail and Wire Fraud Statutes.
Petitioner respectfully asks this Court to vacate and set aside his conviction based on
Skilling and Kelly because there was no federal crime committed in this case. As the First
Circuit clearly explained in Bravo-Fernandez, the same factors require vacating
Petitioner’s conviction:

“Under the government's approach, the jurisdictional element in many federal criminal
cases could be satisfied by similar reliance on jurors' extra-record knowledge. For example,
one could claim that any juror would know that all banks are engaged in, or at least affect,
interstate commerce, or that a bank is likely FDIC insured. Yet, the failure to offer any
actual proof of these relatively obvious jurisdictional facts has repeatedly proved fatal to
criminal prosecutions. See United States v. Leslie, 103 F.3d 1093, 1102-3 (2d Cir. 1997)
(reversing conviction because government “did not provide even the slenderest of threads”
upon which to hang the interstate commerce jurisdictional element)”

Petitioner has paid $60,000 to the Government in fines, restitution and forfeitures,

including money paid from his wife’s tax return. Those funds should be refunded.

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EXPUNGEMENT

After a conviction is invalidated “district courts possess ancillary jurisdiction to expunge
criminal records. That jurisdiction flows out of the congressional grant of jurisdiction to hear cases
involving offenses against the United States pursuant to 18 U.S.C. § 3231.” See, e.g., United States
v. Sumner, 226 F.3d 1005, 1014 (9th Cir. 2000). Here, in the event the Court grants this Petition
and invalidates Petitioner’s conviction, Petitioner respectfully requests that this Court order the
record of the conviction to be expunged and sealed. As discussed, supra, Petitioner’s conviction
is invalid as a matter of law and was premised on erroneous applications of the law that were never
valid. Accordingly, Petitioner has demonstrated appropriate, extraordinary, and unusual
circumstances to warrant the relief of expungement and the return of all funds paid to the
Government over the past seven years

EXPEDITED RELIEF

Petitioner’s conviction continues to prevent him from practicing law as an attorney, or
acting as an insurance agent or working on any ERISA Employee Benefit Plan. This has caused
and continues to cause significant financial instability to his family. In addition, it would be better
for Society to restore Petitioner’s law license so that he may help other individuals who are still in
prison and not able to afford legal counsel to help them prepare the necessary legal documents to
secure their release. Petitioner helped to secure the early release of over 120 inmates pursuant to
the First Step Act and the CARES Act during his period of incarceration. Accordingly, to the extent
possible and practicable, Petitioner most respectfully requests that his Petition be treated on an
expedited basis as the Due Process delays in this case have been extraordinary to date and far

exceed any other case in the history of the First Circuit.

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RELIEF SOUGHT

Petitioner respectfully requests that the Court grant the instant Petition and issue an order:
(i) vacating and setting aside the Order of Forfeiture and Petitioner’s 2014 conviction for mail and
wire fraud in its entirety; (ii) expunging and sealing all records of the foregoing indictment and
conviction; (iii) ordering the Government to return all funds paid to the Government on behalf of
Petitioner in this case; and (iv) granting such other and further relief as this Court deems just,
equitable, and proper.

CONCLUSION

For all of the above reasons, it is respectfully submitted that the Court has a rare opportunity
to correct a miscarriage of justice, inasmuch that Petitioner stands convicted of acts that the law
does not make criminal, and Petitioner would suggest were never criminal under any proper
understanding of the Mail and Wire Fraud statutes. Petitioner therefore respectfully asks the Court
to vacate and set aside Petitioner’s conviction and to expunge and seal all records of the indictment
and conviction in this case, and order the Government to return all funds and to vacate the Order
of Forfeiture in this case as described above.

Respectfully submitted this 22" day of September, 2021.

/s/ Daniel E. Carpenter
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